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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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COULTER VENTURES, LLC d/b/aROGUE
FITNESS, :
Plaintiff,
-against-

: 18 Civ. 11108 (GBD)

ROGUE APPAREL GROUP, INC., :
Defendant. :

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GEORGE B. DANIELS, District Judge:
All further litigation in this case is automatically stayed unless the United States
Bankruptcy Court for the Central District of California determines that the automatic stay of

judicial proceedings pursuant to 11 U.S.C. § 362 does not apply to this case.

Dated: January 5, 2021
New York, New York
SO ORDERED.

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GEPRE B. DANIELS
ITED STATES DISTRICT JUDGE

 

 
